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First Remedial Order Report
           of the
Nunez Independent Monitor




                       First Remedial Order Period
                    August 14, 2020 – September 30, 2020
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                                              Introduction
        This is the first Remedial Order report by the Nunez Monitoring Team as required by the
Court’s August 14, 2020 Remedial Consent Order Addressing Non-Compliance (dkt. 305),
Section F, ¶ 7, in Nunez v. City of New York et. al., 11-cv-5845 (LTS) (Southern District of New
York (“SDNY”)). This report provides a brief update on the Department’s progress toward the
requirements of Sections A to D of the Remedial Order during the first 47-days of
implementation (from August 14, 2020 (“Effective Date”) through September 30, 2020), referred
to as the “First Remedial Order Period” throughout this report. The Eleventh Monitor’s Report
(covering July to December 2020) will discuss each Remedial Order requirement in more detail,
along with relevant data and a compliance assessment. This report is not intended to provide
information on the broader issues of the Consent Judgment, which will be covered in the bi-
annual Monitor’s Reports.

        During the First Remedial Order Period, the Department focused on developing, refining
and/or implementing new practices and procedures to address the specific requirements of the
Remedial Order. 1 For some requirements, implementation has just begun, while for others, the
requirements are not yet due per the Remedial Order’s timelines so implementation has not yet
occurred. 2 In other areas, the Department began working on the Remedial Order’s requirements
prior to the Effective Date, and sections of the Tenth Monitor’s Report are referenced to provide
the relevant details. Given the short tenure of the Remedial Order, assessing the impact of the
various practices is premature. That said, the Monitoring Team is actively engaged with the
Department on the implementation of these requirements as they are all expected to impact the
overall reform effort and the goal of reducing unnecessary and excessive force.




1
  During the First Remedial Order Period the Department’s efforts to mitigate the spread of COVID
continued to impact routine operations as discussed in the Tenth Monitor’s Report at pages 8 to 10. For
instance, training on new practices and procedures had to occur in smaller groups, meaning that more
sessions—and more time—are required to ensure staff are trained in the essential skills required for
proper implementation.
2
  Relevant data and information are provided to the extent available. In some cases, if the deadline for
implementation of the requirement has not come due, then certain data is not included in this particular
report but will be included in subsequent reports.


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                Section A. Initiatives to Enhance Safe Custody Management,
             Improve Staff Supervision and Reduce Unnecessary Uses of Force

¶A.1 Use of Force Reviews. In July 2020, the Department began using the new Rapid Review
template described in the Tenth Monitor’s Report (see pgs. 40-45), which was designed to guide
the reviewer’s assessment of specific substantive issues. Rapid Reviews are generally completed
within 24 hours of the incident and appear to be accurately identifying UOF policy violations
more frequently than in the past. However, some reviews continue to overlook or fail to detect
Staff misconduct. The identified lapses reflect widespread inconsistency, rather than any single
practice or cluster of practices that regularly goes unidentified. In some cases, when the
Monitoring Team identified Staff misconduct that was not otherwise identified by a Rapid
Review, the Monitoring Team brought these cases to the Department’s attention, and the
Department reported it addressed the deficiencies with the Facility leadership who conducted the
Rapid Review. The Department has also started to independently identify and address inadequate
Rapid Reviews in meetings with Facility leadership. However, beyond group discussions in
meetings, the Department has not addressed specific inadequate, unreasonable, or biased Rapid
Reviews with individual Facility leaders.

¶A.2 Facility Leadership Responsibilities. Department leadership and Facility leaders meet
weekly to discuss operational issues in the jails, leveraging analysis from various data sources to
guide this discussion. These meetings would benefit from a more systematic and intentional
focus on the themes gleaned from Rapid Reviews, as the Monitoring Team has observed that the
same operational problems (e.g. failure to secure cell doors) repeatedly occur. Furthermore,
Facility leaders need to construct and implement a more robust set of problem-solving tools, and
subsequently assess whether those tools are effective. The Monitoring Team is working with the
Department to develop a more fulsome approach to this requirement.

¶A.3 Revised De-Escalation Protocol. This requirement was not due as of September 30, 2020,
the time period covered by this report, but will be discussed in the Eleventh Monitor’s Report. In
the interim, the Department is developing the parameters of a new protocol to employ following
a use of force incident, in consultation with the Monitoring Team.

¶A.4 Supervision of Captains. This requirement was not due as of September 30, 2020, the time
period covered by this report, but will be discussed in the Eleventh Monitor’s Report. As of the


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end of September 2020, 72 Assistant Deputy Wardens (“ADWs”) and 559 Captains were
assigned to work in the Facilities (compared to 52 ADWs and 576 Captains at the end of the
Tenth Monitoring Period). 3 Additional promotions during the Eleventh Monitoring Period and
the impending closure and consolidation of additional Facilities are expected to impact the
assignment of ADWs and supervision of Captains, which will be discussed in the Eleventh
Monitor’s Report.

¶A.5 Incarcerated Individuals Involved in Numerous Use of Force Incidents. This requirement
was not due as of September 30, 2020, the time period covered by this report, although progress
was evident on this requirement even before the Effective Date of the Remedial Order. As noted
in the Tenth Monitor’s Report (see pg. 35), every month, the Department continues to develop a
list of High Needs Individuals (“HNI”; those involved in 6+ uses of force in the prior three
months). In September 2020, New York City Health + Hospitals began assessing the mental
health services provided to each person on the list. A more detailed assessment of this
requirement will be discussed in the Eleventh Monitor’s Report.

¶A.6 Facility Emergency Response Teams. This requirement was not due as of September 30,
2020, the time period covered by this report, but the selection criteria, number of positions,
circumstances for deployment and tactics utilized by the Facility Emergency Response Teams
will be discussed in the Eleventh Monitor’s Report. Across the Department, Facility Emergency
Response Teams were deployed a total of 1,140 times in August and September 2020, with 565
deployments in August and 575 deployments in September. 4

                    Section B. Improved and Prompt Use of Force Investigations

          The ID Division continues to make progress closing out its backlog, so that the goal of
timely and quality investigations can be achieved. For incidents occurring from January 1, 2018
through September 30, 2020, 84% of the investigations were closed as of October 15, 2020. A
more detailed picture of ID’s caseload as of October 15, 2020 is presented in the table below.




3
    Relevant ADW data by Facility will be shared in future reports.
4
 Relevant data regarding the deployment of Facility Emergency Response Teams by month and Facility
will be shared in future reports.


                                                      3
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            Investigation Status of UOF Incidents Occurring Between January 1, 2018 and September 30, 2020
                                                  as of October 15, 2020
                                                                                                                    July to
                    Jan. to June      July to Dec.      Jan. to June           July to Dec.       Jan. to June
                                                                                                                  September
                       2018              2018              2019                   2019               2020
                                                                                                                   30, 2020
                                                                                                                                        Total
                        6th               7th              8th                    9th               10th
                                                                                                                  Partial 11th
                     Monitoring        Monitoring       Monitoring             Monitoring         Monitoring
                                                                                                                  Monitoring
                      Period            Period           Period                 Period             Period
                                                                                                                    Period


  Total UOF
                        2,818             3,484              3,573                  3,939              3,125           1,449         18,338
   Incidents


    Pending
  Preliminary
                    0           0%    0           0%    23           1%       1,472     37%      479 5     15%   291 6     20%   2,265          12%
Reviews/ Intake
 Investigations


   Pending
  ID/Facility       0           0%    5       <1%       73           2%       121           3%   381       12%   178       12%    758           4%
Investigations 7


   Closed
                   2,818    100%     3,479   ~100%     3,477     97%          2,346     60%      2,265     72%   980       68%   15,365         84%
Investigations




     ¶B.1 Backlog of Use of Force Investigations. The Tenth Monitor’s Report described the specifics
     of the ID Backlog Plan (see pgs. 134-139) and its implementation. The Department continues to
     make progress toward the Remedial Order’s requirement to close investigations of incidents
     occurring on or before April 16, 2020 (i.e., “more than 120 days prior to the Order Date”) by the
     end of 2020. The Department has made significant progress in addressing the backlog of cases
     this year. Over the course of the Consent Judgment, at times, the backlog has been as high as
     9,000 cases. As of October 15, 2020, only about 2,400 cases remained in the backlog. Given the
     current rate of case closure, the Department is on pace to resolve the remaining cases in the
     backlog, with few exceptions, by the end of 2020. The Monitoring Team is assessing the quality




     5
      All 479 pending incidents occurred between January 1 and February 2, 2020 before the Intake Squad
     began on February 3, 2020. Closure of these cases will be addressed as part of the backlog initiative.
     6
       Most of the 291 pending Intake Investigations are incidents that occurred in the second half of
     September 2020 and were still pending as of October 15, 2020, less than 25 business days from the
     incident date. These investigations were ultimately closed within 25 business days.
     7
         There are 14 pending Facility Investigations in the system that must be officially closed in CMS.


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of investigations that found no UOF violation to determine whether the finding was reasonable.
These results will be reported in the Eleventh Monitor’s Report.

¶B.2 Intake Investigations. The process for Intake Investigations is described in the Ninth
Monitor’s Report (see pgs.41-47). The policy was approved by the Monitor and went into effect
on January 29, 2020. The Intake Squad began conducting Intake Investigations on February 3,
2020. Intake Investigations have created an important foundational step for the Department to
identify and address use of force-related misconduct effectively, as discussed in more detail in
the Tenth Monitor’s Report (see pgs. 52-55). Intake Investigations continued to be completed
timely—95% of the 803 (n=761) investigations of incidents that occurred during the 47-day
period covered by this report were completed within 25 business days. 8 Of these 803 incidents,
136 (17%) were referred for Full ID Investigation.

¶B.3 ID Staffing Levels. This requirement is not due until March 1, 2021 (i.e., “within 60 days of
the end of the Eleventh Monitoring Period”). 9

¶B.4 Prioritizing Certain Use of Force Investigations. ID continues to prioritize incidents
involving potentially serious and egregious use of force and incidents involving potential
misconduct by Staff with a history of misconduct, as discussed in the Tenth Monitor’s Report at
pgs. 152 to 153. The Monitoring Team will be working with ID to consider an expansion of the
cases assigned to this unit.

¶B.5 Tracking and Reporting UOF Violations. This requirement was not due as of September 30,
2020, the time period covered by this report. That said, the findings of Intake Investigations are
being tracked and reported (see pgs. 52-55 of the Tenth Monitor’s Report). A tracking and
reporting system for the findings of Full ID Investigations was under development as of the end
of September 2020.

                Section C. Timely, Appropriate and Meaningful Staff Accountability

          The Remedial Order includes a number of provisions to support efficient processing of
cases within the Trials Division, which is critical given the importance of timely accountability


8
 Of the 42 cases that were not completed within 25 business days, all but two were closed just two
business days beyond the required timeline.
9
    Relevant data related to this requirement will be included in future reports.


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and the large number of cases pending disposition. The number of cases meriting formal
discipline within the Trials Division has continued to increase as ID’s backlog has been
addressed and more current investigations are closed more timely. The status of cases within the
Trials Division is presented in the table below.

                                     Status of Cases in Trials by Date of Incident
                                                As of October 15, 2020

               Pre-2016              2016             2017             2018               2019         2020       Total
Total Cases         696              490              622              770                467           135        3180
  Closed      694     100%     475      97%     429      69%     210      27%        79     17%    5      4%    1892   59%
 Pending       2          0%   15          3%   193      31%     560      73%    388        83%   130     96%   1288   41%

        Certain requirements in the Remedial Order anticipated this increase in cases. In order to
address the increasing number of pending cases, the Trials Division must prioritize and triage
these cases (using similar tactics employed by ID to address its backlog). However, in contrast to
addressing the ID backlog, addressing the cases pending with Trials has some additional
contours as the Department cannot unilaterally address these cases. To resolve cases, the
Department must work with the Respondent (and their counsel) and the OATH Division (to the
extent a settlement cannot be achieved outside of the OATH process). Affording the Respondent
due process is a critical component of imposing discipline. That said, providing due process
cannot unnecessarily delay the imposition of discipline. As such, efficiencies must be identified
that provide for both due process protections and efficient case processing and timely discipline.
The Monitoring Team has been working with Department leadership to address these issues.

        The focus during the First Remedial Order Period was to increase the number of OATH
pre-trial conferences. The Remedial Order’s requirement for 50 OATH pre-trial conferences per
month is an increase from prior practice and is intended to allow more cases to be heard timely.
The required number of conferences have been held, but the Department and City experienced
several obstacles when trying to move this process forward as planned. Fortunately, solutions
were identified, and the process is proceeding as designed.

        In September 2020, part way through the First Remedial Order Period, the Correction
Officer’s union (“COBA”) reported that it would be replacing its long-standing counsel, who
represents individual officers at OATH, on November 1, 2020. During the transition period
between September and November 2020, several issues impacted the ability to resolve pending



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cases. In some cases, Staff refused to participate in the OATH pre-trial conferences until the new
counsel was in place. In addition, settlement negotiations outside of the OATH process for
Correction Officers were essentially halted in mid-September because the outgoing COBA
counsel advised the Department they were not authorized by their clients to engage in any
settlement negotiations outside of the OATH process during the transition period. As a result,
very few matters were settled outside of OATH during this period. 10

        Once new counsel was installed on November 1, 2020, they objected to participating in
pre-trial conferences on more than one day per week, even though additional days were needed
in order to reach the 50-conferences-per-month benchmark set by the Remedial Order.
Department and OATH leadership, along with support from counsel from the City, addressed
these objections expeditiously and ultimately reached agreement with new counsel that OATH
pre-trial conferences would occur on at least six days per month in order to achieve the 50-
conferences-per-month benchmark.

        The Monitoring Team appreciates and acknowledges that the City, the Department, and
OATH have effectively addressed these various obstacles to minimize potential delays to these
proceedings. That said, significant work remains to address the Trials Division’s backlog. In
particular, a key focus for the remainder of the Eleventh Monitoring Period is determining
whether the Trials Division has sufficient staff to handle its caseload. The rising number of
cases, combined with the amount of work needed to resolve these matters, suggests that
additional staffing may be necessary. The City has reported it will work with the Monitoring
Team to address any potential staffing issues once further analysis has been completed. The
Monitoring Team’s highest priority is working with the Department to address the mounting
number of cases pending with Trials and to improve the overall timeliness of accountability. A
more fulsome discussion of these issues will be included in the Eleventh Monitor’s Report.

¶C.1 Immediate Corrective Action. The Department is applying Immediate Corrective Action for
misconduct identified through various avenues including Rapid Reviews, Intake Investigations,
and ad hoc reviews by DOC leadership. These corrective actions are documented and tracked, as
shown in the table below:


10
  The Department reports that it is currently working to reinstate settlements outside of the OATH
process now that COBA’s new counsel is in place.


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                             Immediate Corrective Action Imposed, by Staff Member,
                                        August 14 to September 30, 2020
                    Type of Corrective Action Imposed                                  Number
                    Suspension                                                             12
                    Modified Duty                                                          0
                    Counseling                                                            214
                    Re-Training                                                           95 11
                    Totals
                    Total Staff Members*                                                  266
                    Total UOF Incidents with Immediate Corrective Action                  181
                    *Note: Some Staff received multiple corrective actions.

¶C.2 Responding to Monitor Recommendations. The Monitor has recommended the Department
take Immediate Corrective Action, expeditiously complete the investigation, and/or otherwise
address the violation by expeditiously pursuing disciplinary proceedings or other appropriate
action related to four specific staff members involved in five separate incidents. In each case, the
Department either responded timely and imposed reasonable corrective action, or expeditiously
pursued discipline or completed the investigation of the incident, as recommended.

¶C.3 New Trials Division Protocols. This requirement was not due as of September 30, 2020, the
time period covered by this report, but the Department has begun consulting with the Monitoring
Team on the parameters of the required protocol.

¶C.4 Expeditious OATH Proceedings. The Department is meeting the requirement to hold at
least 50 OATH pre-trial conferences per month for disciplinary cases involving UOF-related
charges. Between August 14 and September 30, 2020, a total of 81 OATH pre-trial conferences
were held for disciplinary cases involving UOF violation charges. Of these 81 pre-trial
conferences, 24 were held in the latter half of August and 57 occurred in September 2020.

¶C.5 Applicability of Disciplinary Guidelines to OATH Proceedings. In collaboration with the
Monitoring Team, the City drafted and provided a letter to OATH Administrative Law Judges as
required by this provision. Going forward, 30 days after every quarter, the City will remind
OATH Administrative Law Judges of the applicability of the Disciplinary Guidelines and will
provide any relevant findings from current Monitor’s Reports. The next letter will be shared on


11
     The majority of re-training requests are still pending as of the filing of this Report.


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or before January 30, 2021. The Monitoring Team will provide the details of its analysis of
OATH proceedings in the Eleventh Monitor’s Report.

                  Section D. 18-Year-Old Incarcerated Individuals at RNDC

         The average use of force rate at RNDC has been decreasing for the past few Monitoring
Periods (8th = 22.0; 9th = 19.8; 10th = 14.8), a trend which has continued thus far in the Eleventh
Monitoring Period (July-September 2020 average = 8.3). The average rate of violence has also
been decreasing (8th = 23.4; 9th = 19.1; 10th = 13.0), and recent data suggests this trend is
continuing (July-September 2020 average = 6.8). These sustained decreases are very
encouraging and if they continue, should amplify the effectiveness of the strategies discussed
below.

¶D1. Consistent Staff Assignments and Leadership. As noted in the Tenth Monitor’s Report (see
pgs. 266-268) the Department had assigned approximately 92% of 4-day Staff and 77% of 2-day
Staff to specific posts/units as of February 2020. That said, once accounting for the various
reasons why Staff did not work as assigned (e.g., shift trades, leave/vacation/sick, training, etc.),
the proportion of posts actually worked by the assigned Staff averaged approximately 60%
across all three shifts. In August 2020, 91% of 4-day Staff had been assigned to specific posts,
along with 100% of 2-day Staff. However, the proportion of posts actually worked by assigned
staff decreased to 52%. It is premature to draw any conclusions from two months’ worth of data.
A detailed analysis of NCU’s findings for the full six-month period will be discussed in the
Eleventh Monitor’s Report. By the end of September 2020, the Department had not yet
completed Captains’ assignments to specific posts/units but plans to do so by the end of 2020.
The provision regarding increasing the number of ADWs at RNDC (§A.4.i) was not due as of
September 30, 2020, the time period covered by this report. Once it has come due, ADWs will be
included in the consistent staffing analysis. Further, the Department anticipates that some of the
existing 4-day and 2-day Staff assignments will be modified to accommodate the influx of new
ADWs and upcoming Staff transfers following the closure of two DOC facilities.

¶D2. System of Incentives and Consequences. As discussed in the Tenth Monitor’s Report (see
pgs. 248-251), the Department has designed a system (“Informal Resolution”) to incentivize
positive behavior and to sanction negative conduct. The system includes both short-term and
long-term rewards, and a range of consequences that can be imposed close in time to when


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misconduct occurs. The Monitor approved the policy, and it was signed into effect on September
1, 2020. Training on Informal Resolution was bundled with Unit Management training (the
Monitor approved both curricula in July 2020) and will be rolled out building-by-building (each
building includes six housing units). RNDC Leadership and Staff —both uniform and civilian—
from the first building were trained in late August/early September 2020. Both programs were
deployed in the first building in early September 2020, with training and implementation in the
other five RNDC buildings to be phased-in afterwards. The Department has developed
Individual Resolution forms and a Tracking Log, from which data on utilization will be analyzed
by the Monitoring Team and reported in the Eleventh Monitor’s Report.

¶D3. Direct Supervision. The core concepts of Direct Supervision have been integrated into the
Unit Management model, as discussed in the Tenth Monitor’s Report (see pgs.264-265). In the
first RNDC building to implement Unit Management, concepts taught in training are reinforced
via the Daily Huddle (which includes steady Staff assigned to the units and the Unit Manager)
and Weekly Unit Team Meetings (attended by steady Staff, unit counselors, recreation
counselors, the Unit Manager and representatives from the DOC Programs Division), in addition
to day-to-day supervision by the Unit Manager. Interviews with key RNDC leaders indicate that
while cross-discipline collaboration among uniformed and civilian staff is a new practice for this
Department, Staff have responded positively to the opportunity to work as a team, rather than
solving problems in isolation. Further, Staff of all types are reportedly interacting more
proactively, abating issues in real-time and are pleased by the ability to address negative
behavior in the moment, rather than waiting for the infraction process to wind its way through
the system. From the youth’s perspective, all youth in the first Unit Management building
received an Orientation about the units’ new structure and are reportedly motivated to earn the
various incentives and privileges that are now available. Training and implementation for the
other five buildings at RNDC will be phased-in. The Department’s Programs Office adopted a
Unit Management Checklist to assess and support the quality of implementation and NCU is
planning to construct a routine dashboard for each unit to track key outcomes. The Monitoring
Team has been consulting with the Department to develop additional metrics for gauging the
quality of implementation, including the extent to which each unit is consistently following the
daily schedule.

                                              • End •


                                                 10
